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                                      UNITED STATES DISTRICT COURT
                                         DISTRICT OF MARYLAND

    PETER J. MESSITTE                                                               6500 CHERRYWOOD LANE
UNITED STATES DISTRICT JUDGE                                                      GREENBELT, MARYLAND 20770
                                                                                           301-344-0632


                                                MEMORANDUM

       To:            Counsel of Record & Unrepresented Defendants & Relief Defendants

       From:          Judge Peter J. Messitte

       Re:            Federal Trade Commission v. Ecological Fox, LLC et al.
                      Civil No. PJM 18-3309

       Date:          February 25, 2019

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       Defendant Andris Pukke, through counsel, has filed an Emergency Motion to Strike the Temporary
       Receiver’s February 22, 2019 Report from the Docket Sheet. ECF No. 223. He asks to be heard on
       this Motion as soon as possible.

       The Court will treat Pukke’s Motion as a Motion to Seal, governed by the procedures of Local Rule
       105.11. Accordingly, the Court will temporarily SEAL the Receiver’s Report (ECF No. 219) and
       hear arguments for and against sealing at the Motions Hearing on Friday, March 1.

       Any party that opposes Pukke’s Motion should file an Opposition by noon on Thursday, February
       28, if possible. The Court understands the limited time available to file an Opposition by March 1,
       so it will be prepared to hear any Opposition at the already-scheduled Motions Hearing. A separate
       Memorandum Order will issue setting out the argument schedule for the Motions to be heard on
       March 1.

       If you have any questions, please contact the Court’s law clerk, Ben Symons, at (301) 344-3655 or
       at Benjamin_Symons@mdd.uscourts.gov. If he is unavailable, please contact the Court’s other law
       clerk, Clare Riva, at (301) 344-3654 or at Clare_Riva@mdd.uscourts.gov

       Despite the informal nature of this ruling, it shall constitute an Order of the Court and the Clerk is
       directed to docket it accordingly.



                                                                    /s/

                                                             Peter J. Messitte
                                                             United States District Judge

       cc:     Court File
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